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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 25-mj-6127-Valle                               AR
  UNITED STATES OF AMERICA
                                                                                  Feb 24, 2025
  vs.

  JEAN JETHRO ALEXANDRE,                                                                        FTL


              Defendant.
  ___________________________________/

                                     CRIMINAL COVER SHEET

        1. Did this matter originate from a matter pending in the Northern Region of the United States
           Attorney=s Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)? NO.

        2. Did this matter originate from a matter pending in the Central Region of the United States
           Attorney=s Office prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? NO.

        3. Did this matter involve the participation of or consultation with now Magistrate Judge
           Eduardo I. Sanchez during his tenure at the U.S. Attorney’s Office, which concluded on
           January 22, 2023? NO.

        4. Did this matter involve the participation of or consultation with Magistrate Judge Marty
           Fulgueira Elfenbein during her tenure at the U.S. Attorney’s Office, which concluded on
           March 5, 2024? NO

        5. Did this matter involve the participation of or consultation with Magistrate Judge Ellen F.
           D’Angelo during her tenure at the U.S. Attorney’s Office, which concluded on October 7,
           2024? NO

                                                        Respectfully submitted,

                                                        HAYDEN P. O’BYRNE
                                                        UNITED STATES ATTORNEY

                                                 By:
                                                        DAVID A. SNIDER
                                                        Assistant United States Attorney
                                                        Court ID No. A5502260
                                                        500 E. Broward Blvd., Suite 700
                                                        Fort Lauderdale, FL 33394
                                                        Tel: (954) 660-5696
                                                        Fax: (954) 356-7336
                                                        Email: david.snider@usdoj.gov
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     AO 91 (Rev. 11/11) Criminal Complaint


                                         UNITED STATES DISTRICT COURT
                                                                                                                          AR
                                                                 for the
                                                     Southern District of Florida       E)                      Feb 24, 2025
                      United States of America                      )
                                                                                                                           FTL
                                    v.                              )
                                                                    )      Case No.
                  JEAN JETHRO ALEXANDRE,
                                                                    )                  25-mj-6127-Valle
                                                                    )
                                                                    )
                                                                    )
                              Defendanl(s)


                                                  CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
   On or about the date(s) of            February 20, 2025               in the county of           Broward                      in the
        Southern          District of          Florida           , the defendant(s) violated:

               Code Section                                                   Offense Description
  18 U.S.C. § 922(g)(5)                          Possession of a fireann by an alien illegally or unlawfully in the United States.




           This criminal complaint is based on these facts:
 See Attached Affidavit.




           ~ Continued on the attached sheet.




                                                                                         Ashley Agrait, Special Agent, FBI
                                                                                                Printed name and title


Sworn to before me and signed in my presence.


Date:             02/24/2025
                                                                                                    Judge's signature

                                    Fort Lauderdale, Florida                        ALICIA 0. VALLE, U.S. MAGISTRATE JUDGE
City and state:                                                                                  Printed name and title
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                   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

         I, Ashley Agrait, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

         1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

  served in this capacity since December 2022. I am a “federal law enforcement officer” within the

  meaning of Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged

  in enforcing the criminal laws and duly authorized by the Attorney General to request an arrest

  warrant. I am currently assigned to the Public Corruption Squad of the FBI’s Miami Division. As

  part of my duties, I investigate violations of federal law involving fraud, Hobbs Act robberies,

  public corruption, firearms, and identity theft, among other offenses. I have received training in

  federal criminal statutes relating to these and other offenses, as well as training on how to conduct

  investigations of these and other offenses. Prior to working as an FBI Special Agent, I served as

  an FBI Tactical Specialist (TS) for approximately nine (9) years. During my tenure as a TS, I

  assisted in the investigations involving fraud against the government, business email compromises,

  financial fraud involving account takeovers, and violent crimes. I was selected and served as an

  Assistance Team Lead for FBI Miami Hazardous Evidence Response Team, receiving in-depth

  training on the proper execution of search warrants, including photography, sketching, collection,

  and preservation of evidence.

         2.      I submit this affidavit in support of a criminal complaint against Jean Jethro

  Alexandre (“ALEXANDRE”). As explained below, there is probable cause to believe that, on or

  about February 20, 2025, in Broward County, in the Southern District of Florida, ALEXANDRE

  violated Title 18, United States Code, Section 922(g)(5), that is, possession of a firearm by an alien

  illegally or unlawfully in the United States.



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         3.      The facts contained in this Affidavit are based on my personal knowledge, as well

  as information relayed to me by other law enforcement officials involved in this investigation. I

  have not included in this affidavit every fact known to me about this investigation. Rather, I have

  included only the facts that are sufficient to establish probable for the issuance of a criminal

  complaint against ALEXANDRE for the above-described criminal violation.

                                       PROBABLE CAUSE

                                             Background

         4.      On February 19, 2025, United States Magistrate Judge Alicia O. Valle signed a

  Search and Seizure Warrant (Form AO 93), including Attachments A and B thereto (hereinafter,

  “Search Warrant 1”), which was supported by an Application for a Warrant by Telephone or Other

  Reliable Electronic Means (Form AO 106A) (hereinafter, “Warrant Application 1”) and an

  Affidavit attested to by me in accordance with the requirements of Fed. R. Crim. P. 4.1 by

  FaceTime on February 19, 2025, which included Attachments A and B (hereinafter, “Affidavit

  1”). Warrant Application 1, Affidavit 1, and Search Warrant 1 are presently filed with the Court

  under seal pursuant to a Sealed Order.

         5.      Search Warrant 1 authorized law enforcement to: (a) search the premises of 10291

  Sweet Bay Street, Plantation, Florida 33324 (hereinafter, the “TARGET PREMISES”), including

  the residence thereon at which ALEXANDRE resided, as described in more detail in Attachment

  A thereto; and (b) seize evidence of, and property designed for use, intended for use, or used in

  committing, violations of Title 18, United States Code, Sections 371 (conspiracy to defraud the

  United States and receive illegal remunerations), 1028A(a)(1) (aggravated identity theft), 1343

  (wire fraud), 1347 (health care fraud), 1349 (conspiracy to commit health care fraud and wire

  fraud), and Title 42, United States Code, Sections 1320a-7b(b)(1)(A) (receipt of illegal



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  remunerations) and 1320a-7b(b)(2)(A) (payment of illegal remunerations) (collectively, the

  “Health Care Fraud Offenses”), as described in more detail in Attachment B thereto.

                       February 20, 2025 Search of the TARGET PREMISES

         6.      On February 20, 2025, at approximately 6:00 a.m., federal agents of the FBI

  executed Search Warrant 1 at the TARGET PREMISES.

         7.      During the execution of Search Warrant 1 at the TARGET PREMISES, FBI agents

  made initial contact with ALEXANDRE as he was exiting the residence at the TARGET

  PREMISES as instructed by law enforcement. In connection with conducting a safety clear of the

  TARGET PREMISES, FBI agents asked ALEXANDRE standard questions, which included

  whether there were any additional persons, children, animals, and firearms in the residence. With

  respect to the firearms, ALEXANDRE stated that there were two firearms in the residence, one

  firearm located in a closet, which FBI determined was a closet in the master bedroom (hereinafter,

  the “His Master Closet”); and another firearm located on the top of a dresser, which FBI also

  determined was in the master bedroom next to the TV.

         8.      Thereafter, in connection with the safety clear and execution of Search Warrant 1,

  FBI agents searched the His Master Closet and found within a drawer located therein a Ruger 9mm

  model American Pistol, bearing serial number 862-03411 (hereinafter, the “FIREARM”).1 The

  FIREARM was found loaded with rounds of 9 mm ammunition. The FIREARM (identified as

  item 15) and ammunition (identified as item 15A) found during the execution of Search Warrant

  1 were photographed, and three such photographs are reproduced below:




  1
   The FBI also found a second firearm on the dresser next to the TV in the master bedroom, as described
  by ALEXANDRE.


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         9.     The His Master Closet, including the shelf on which the FIREARM was found,

  contained articles of male clothing. Notably, the His Master Closet did not contain any female

  clothing. A separate closet within the Master Bedroom area of the TARGET PREMISES

  contained female clothing and other personal female items.

         10.    Additionally, in the His Master Closet, the FBI found a hard plastic case for the

  FIREARM, which contained a magazine loaded with rounds of 9 mm ammunition and an

  “Instruction Manual for Ruger American Pistol” (hereinafter, the “FIREARM CASE”). The

  FIREARM CASE (identified as item 17) found during the execution of Search Warrant 1 was

  photographed, and two such photographs are reproduced on the next page of this Affidavit:

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          11.      During the continued execution of Search Warrant 1, which authorized the search

  of any vehicles located on the TARGET PREMISES, the FBI searched a model year 2023 Bentley

  Flying Spur bearing Vehicle Identification Number (VIN) SCBBR6ZG3PC004752 (hereinafter,

  the “Bentley”), which was located on the TARGET PREMISES at the time of the search.2 The

  Bentley was validly registered to ALEXANDRE with the Florida Department of Motor Vehicles.

          12.      During the search of the Bentley at the TARGET PREMISES, the FBI found in the

  glove compartment a document titled “FIREARM BILL OF SALE.” The FIREARM BILL OF

  SALE, which was completed by hand, reflected in Section 1, titled “Buyer,” ALEXANDRE’s full

  name, date of birth, and Driver’s License Number, as the purchaser of the FIREARM. The

  manufacturer, model, caliber, and serial number reflected on the FIREARM BILL OF SALE was

  a Ruger, American Pistol, 9mm, assigned serial number 862-03411 (i.e., the FIREARM). The

  FIREARM BILL OF SALE reflected in Section 2, titled “Seller,” the name of “Jose v. Pereira”

  with his date of birth, and Driver’s License Number. The FIREARM BILL OF SALE was dated

  July 17, 2020, and was notarized by a Florida notary public. An image of the FIREARM BILL

  OF SALE is reproduced on the next page of this Affidavit:




  2
    An inventory search of the Bentley was also conducted in connection with the seizure of the Bentley
  pursuant to a Warrant to Seize Property Subject to Forfeiture (AO 109), signed by United States Magistrate
  Judge Alicia O. Valle on February 19, 2025 (the “Seizure Warrant”). The Seizure Warrant, and the
  application and affidavit in support thereof, is presently filed with the Court under seal pursuant to a Sealed
  Order.


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         13.     In the driver’s side door compartment of the Bentley, the FBI found

  ALEXANDRE’s Haitian passport, among other items attributable to ALEXANDRE.

         14.     A Firearms Trace Summary by the Bureau of Alcohol, Tobacco, Firearms and

  Explosive (ATF) showed that Jose Pereira was the original purchaser of the firearm on July 16,

  2020—the day before the date of the sale from Jose Pereira to ALEXANDRE that is reflected on

  the Firearm Bill of Sale.

         15.     In addition to the FIREARM, the execution of Search Warrant 1 resulted in the

  seizure of evidence of, and property designed for use, intended for use, or used in committing, the

  Health Care Fraud Offenses at the TARGET PREMISES and elsewhere. Such tangible evidence

  included, but was not limited to: prescription drugs prescribed to individuals not residing in the

  TARGET PREMISES; ledgers, notes, and other records documenting payments to and from

  individuals and entities (including pharmacies) associated with a medical facility that is associated

  with ALEXANDRE and his spouse; personally identifiable information (PII) of medical

  professionals and other third persons not residing at the TARGET PREMISES; and approximately

  $430,000 in U.S. currency.

                      ALEXANDRE’s Immigration Status in the United States

         16.     Based upon a review of immigration records, ALEXANDRE is a native and citizen

  of Haiti assigned alien registration number 096100406. ALEXANDRE has the immigration status

  of an alien who is in the United States illegally or unlawfully.

         17.     More specifically, pursuant to an Order of an immigration judge, dated October 16,

  2006, ALEXANDRE was ordered removed from the United States to Haiti on the charge of

  entering the United States without inspection, admission or parole, in violation of Section

  212(a)(6)(A)(i) of the Immigration and Naturalization Act (hereinafter, the “10/16/06 Order”).



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  ALEXANDRE appealed the 10/16/06 Order, and his appeal was denied in an Order dated August

  5, 2008.

         18.     On February 20, 2025, the United States Department of Homeland Security (DHS),

  U.S. Immigration and Customs Enforcement (ICE), encountered ALEXANDRE at the TARGET

  PREMISES and detained him in the custody of DHS/ICE pursuant to a Warrant of

  Removal/Deportation, dated February 20, 2025, for the removal of ALEXANDRE based upon the

  10/16/06 Order (hereinafter, the “02/20/25 Removal Warrant”). ALEXANDRE is presently in

  DHS/ICE custody pending removal from the United States pursuant to the 02/20/25 Removal

  Warrant.

                                     Seizure of the FIREARM

         19.     Based upon probable cause that the FIREARM was evidence of a violation of

  possession of a firearm by an alien illegally or unlawfully in the United States (18 U.S.C.

  § 922(g)(5)), and was illegally possessed by ALEXANDRE in violation of the same, FBI seized

  the FIREARM during the execution of Search 1 Warrant on February 20, 2025 and transported it

  to a secure evidence room at the FBI Miami Feld Office in Miramar, Florida.

         20.     On February 21, 2025, United States Magistrate Judge Alicia O. Valle signed a

  Search and Seizure Warrant (Form AO 93), including Attachments A and B thereto (“Search

  Warrant 2”), which was supported by an Application for a Warrant by Telephone or Other Reliable

  Electronic Means (Form AO 106A) (the “Warrant Application 2”) and an Affidavit attested to by

  me in accordance with the requirements of Fed. R. Crim. P. 4.1 by FaceTime on February 21,

  2025, which included Attachments A and B (the “Affidavit 2”). Warrant Application 2, Affidavit

  2, and Search Warrant 2 are presently filed with the Court under seal pursuant to a Sealed Order.




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         21.     Search Warrant 2 authorized law enforcement to seize the FIREARM. The FBI

  executed Search Warrant 2 on February 21, 2025.

         22.     Based upon my training and experience, and discussion with other federal law

  enforcement, the FIREARM was manufactured outside of the State of Florida.

                                           CONCLUSION

         23.     Based on facts set forth above, I respectfully submit that there is probable cause to

  believe that on or about February 20, 2025, in Broward County, in the Southern District of Florida,

  ALEXANDRE committed a violation of Title 18, United States Code, 922(g)(5), that is,

  possession of a firearm by an alien illegally or unlawfully in the United States.

         FURTHER AFFIANT SAYETH NAUGHT.




                                                     Ashley ~ t , Special Agent
                                                     Federal Bureau of Investigation

 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                  24th day of February, 2025.
 FaceTime on this __



 ALICIA 0. VALLE
 UNITED STATES MAGISTRATE JUDGE




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